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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

 SPACE EXPLORATION
 TECHNOLOGIES CORP.,
        Plaintiff,                                     Civil Action No. 1:24-cv-00001
                v.
 NATIONAL LABOR RELATIONS
 BOARD, a federal administrative agency,
 JENNIFER ABRUZZO, in her official
 capacity as the General Counsel of the
 National Labor Relations Board, LAUREN
 M. McFERRAN, in her official capacity as
 the Chairman of the National Labor
 Relations Board, MARVIN E. KAPLAN,
 GWYNNE A. WILCOX, and DAVID M.
 PROUTY, in their official capacities as
 Board Members of the National Labor
 Relations Board, and JOHN DOE in his
 official capacity as an Administrative Law
 Judge of the National Labor Relations
 Board,
        Defendants.

                     MOTION TO WITHDRAW REPRESENTATION AND
                         TERMINATE ELECTRONIC NOTICES

       PLEASE TAKE NOTICE that Plaintiff SPACE EXPLORATION TECHNOLOGIES

CORP. (“Plaintiff”) moves to withdraw Amanda L. Salz of Morgan, Lewis & Bockius, LLP, from

representation in the above-captioned case. Upon an Order being entered, it is further requested

that the Clerk of this Court terminate delivery of electronic notices to Amanda L. Salz.

       Ms. Salz is departing the law firm of Morgan, Lewis & Bockius, LLP, but Plaintiff will

continue to be represented by other counsel of record from Morgan, Lewis & Bockius, LLP that

have previously made an appearance in this matter, and no prejudice will result to any party as a

result of this withdrawal. Therefore, Plaintiff moves the Court for an Order discharging Amanda



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L. Salz as an attorney in this suit and granting such other relief as the Court may deem proper.



 Dated: June 25, 2024                       Respectfully submitted,

                                            By:       /s/ Amanda Salz

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                                            Attorneys for Plaintiff
                                            Space Exploration Technologies Corp.




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 25, 2024, I electronically filed the foregoing with the Clerk of

the Court using the ECF system, which will send notification to all parties of record.



                                                              /s/ Amanda Salz
                                                              Amanda Salz


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